                Case 1-25-41368-jmm                Doc 55       Filed 05/28/25          Entered 05/28/25 02:44:34




                                       UNITED STATES BANKRUPTCY COURT
                                              EASTERN DISTRICT OF New York



In Re. Avon Place LLC                                               §                  Case No. 25-41368
                                                                    §
                                                                    §
                      Debtor(s)                                     §
                                                                                           Jointly Administered

Amended Monthly Operating Report                                                                                          Chapter 11

Reporting Period Ended: 04/30/2025                                                       Petition Date: 03/21/2025

Months Pending: 1                                                                        Industry Classification:    0

Reporting Method:                              Accrual Basis                      Cash Basis

Debtor's Full-Time Employees (current):                                          0

Debtor's Full-Time Employees (as of date of order for relief):                   0



Supporting Documentation (check all that are attached):
(For jointly administered debtors, any required schedules must be provided on a non-consolidated basis for each debtor)

        Statement of cash receipts and disbursements
        Balance sheet containing the summary and detail of the assets, liabilities and equity (net worth) or deficit
        Statement of operations (profit or loss statement)
        Accounts receivable aging
        Postpetition liabilities aging
        Statement of capital assets
        Schedule of payments to professionals
        Schedule of payments to insiders
        All bank statements and bank reconciliations for the reporting period
        Description of the assets sold or transferred and the terms of the sale or transfer




/s/David Goldwasser                                                          David Goldwasser
Signature of Responsible Party                                               Printed Name of Responsible Party
05/27/2025                                                                   710 Avenue L
Date                                                                         Brooklyn, NY 11230

                                                                             Address



STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.

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Part 1: Cash Receipts and Disbursements                                               Current Month            Cumulative

a.   Cash balance beginning of month                                                                  $1,228
b.   Total receipts (net of transfers between accounts)                                               $3,918                $0
c.   Total disbursements (net of transfers between accounts)                                          $2,420                $0
d.   Cash balance end of month (a+b-c)                                                                $2,726
e.   Disbursements made by third party for the benefit of the estate                              $23,264                   $0
f.   Total disbursements for quarterly fee calculation (c+e)                                      $25,684                   $0
Part 2: Asset and Liability Status                                                    Current Month
(Not generally applicable to Individual Debtors. See Instructions.)
a. Accounts receivable (total net of allowance)                                                          $0
b.   Accounts receivable over 90 days outstanding (net of allowance)                                     $0
c.   Inventory       ( Book        Market      Other       (attach explanation))                         $0
d    Total current assets                                                                                $0
e.   Total assets                                                                                        $0
f.   Postpetition payables (excluding taxes)                                                             $0
g.   Postpetition payables past due (excluding taxes)                                                    $0
h.   Postpetition taxes payable                                                                          $0
i.   Postpetition taxes past due                                                                         $0
j.   Total postpetition debt (f+h)                                                                       $0
k.   Prepetition secured debt                                                                            $0
l.   Prepetition priority debt                                                                           $0
m. Prepetition unsecured debt                                                                            $0
n.   Total liabilities (debt) (j+k+l+m)                                                                  $0
o.   Ending equity/net worth (e-n)                                                                       $0

Part 3: Assets Sold or Transferred                                                    Current Month            Cumulative


a.   Total cash sales price for assets sold/transferred outside the ordinary
     course of business                                                                                  $0                 $0
b.   Total payments to third parties incident to assets being sold/transferred
     outside the ordinary course of business                                                             $0                 $0
c.   Net cash proceeds from assets sold/transferred outside the ordinary
     course of business (a-b)                                                                            $0                 $0

Part 4: Income Statement (Statement of Operations)                                    Current Month            Cumulative
(Not generally applicable to Individual Debtors. See Instructions.)
a. Gross income/sales (net of returns and allowances)                                                    $0
b.   Cost of goods sold (inclusive of depreciation, if applicable)                                       $0
c.   Gross profit (a-b)                                                                                  $0
d.   Selling expenses                                                                                    $0
e.   General and administrative expenses                                                                 $0
f.   Other expenses                                                                                      $0
g.   Depreciation and/or amortization (not included in 4b)                                               $0
h.   Interest                                                                                            $0
i.   Taxes (local, state, and federal)                                                                   $0
j.   Reorganization items                                                                                $0
k.   Profit (loss)                                                                                       $0                 $0


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Debtor's Name Avon Place LLC                                                                                 Case No. 25-41368

Part 5: Professional Fees and Expenses

                                                                                  Approved      Approved        Paid Current       Paid
                                                                                Current Month   Cumulative         Month         Cumulative
a.     Debtor's professional fees & expenses (bankruptcy) Aggregate Total

       Itemized Breakdown by Firm
                Firm Name                         Role
       i
       ii
       iii
       iv
       v
       vi
       vii
       viii
       ix
       x
       xi
       xii
       xiii
       xiv
       xv
       xvi
       xvii
       xviii
       xix
       xx
       xxi
       xxii
       xxiii
       xxiv
       xxv
       xxvi
       xxvii
       xxviii
       xxix
       xxx
       xxxi
       xxxii
       xxxiii
       xxxiv
       xxxv
       xxxvi


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       xxxvii
       xxxvii
       xxxix
       xl
       xli
       xlii
       xliii
       xliv
       xlv
       xlvi
       xlvii
       xlviii
       xlix
       l
       li
       lii
       liii
       liv
       lv
       lvi
       lvii
       lviii
       lix
       lx
       lxi
       lxii
       lxiii
       lxiv
       lxv
       lxvi
       lxvii
       lxviii
       lxix
       lxx
       lxxi
       lxxii
       lxxiii
       lxxiv
       lxxv
       lxxvi
       lxxvii
       lxxvii

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Debtor's Name Avon Place LLC                                                                                Case No. 25-41368


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       lxxxii
       lxxxii
       lxxxiv
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       lxxxvi
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       lxxxvi
       lxxxix
       xc
       xci
       xcii
       xciii
       xciv
       xcv
       xcvi
       xcvii
       xcviii
       xcix
       c
       ci

                                                                                 Approved       Approved       Paid Current       Paid
                                                                               Current Month   Cumulative         Month         Cumulative
b.     Debtor's professional fees & expenses (nonbankruptcy) Aggregate Total
       Itemized Breakdown by Firm
                Firm Name                        Role
       i
       ii
       iii
       iv
       v
       vi
       vii
       viii
       ix
       x
       xi
       xii
       xiii
       xiv


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       xv
       xvi
       xvii
       xviii
       xix
       xx
       xxi
       xxii
       xxiii
       xxiv
       xxv
       xxvi
       xxvii
       xxviii
       xxix
       xxx
       xxxi
       xxxii
       xxxiii
       xxxiv
       xxxv
       xxxvi
       xxxvii
       xxxvii
       xxxix
       xl
       xli
       xlii
       xliii
       xliv
       xlv
       xlvi
       xlvii
       xlviii
       xlix
       l
       li
       lii
       liii
       liv
       lv
       lvi

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       lvii
       lviii
       lix
       lx
       lxi
       lxii
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         xcix
         c
c.       All professional fees and expenses (debtor & committees)




Part 6: Postpetition Taxes                                                                  Current Month             Cumulative

a.   Postpetition income taxes accrued (local, state, and federal)                                          $0                          $0
b.   Postpetition income taxes paid (local, state, and federal)                                             $0                          $0
c.   Postpetition employer payroll taxes accrued                                                            $0                          $0
d.   Postpetition employer payroll taxes paid                                                               $0                          $0
e.   Postpetition property taxes paid                                                                       $0                          $0
f.   Postpetition other taxes accrued (local, state, and federal)                                           $0                          $0
g.   Postpetition other taxes paid (local, state, and federal)                                              $0                          $0

Part 7: Questionnaire - During this reporting period:

a.   Were any payments made on prepetition debt? (if yes, see Instructions)           Yes        No
b.   Were any payments made outside the ordinary course of business                   Yes        No
     without court approval? (if yes, see Instructions)
c.   Were any payments made to or on behalf of insiders?                              Yes        No
d.   Are you current on postpetition tax return filings?                              Yes        No
e.   Are you current on postpetition estimated tax payments?                          Yes        No
f.   Were all trust fund taxes remitted on a current basis?                           Yes        No
g.   Was there any postpetition borrowing, other than trade credit?                   Yes        No
     (if yes, see Instructions)
h.   Were all payments made to or on behalf of professionals approved by              Yes        No    N/A
     the court?
i.   Do you have:           Worker's compensation insurance?                          Yes        No
                                 If yes, are your premiums current?                   Yes        No    N/A       (if no, see Instructions)
                            Casualty/property insurance?                              Yes        No
                                 If yes, are your premiums current?                   Yes        No    N/A       (if no, see Instructions)
                            General liability insurance?                              Yes        No
                                 If yes, are your premiums current?                   Yes        No    N/A       (if no, see Instructions)
j.   Has a plan of reorganization been filed with the court?                          Yes        No
k.   Has a disclosure statement been filed with the court?                            Yes        No
l.   Are you current with quarterly U.S. Trustee fees as                              Yes        No
     set forth under 28 U.S.C. § 1930?




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Part 8: Individual Chapter 11 Debtors (Only)

a.      Gross income (receipts) from salary and wages                                                               $0
b.      Gross income (receipts) from self-employment                                                                $0
c.      Gross income from all other sources                                                                         $0
d.      Total income in the reporting period (a+b+c)                                                                $0
e.      Payroll deductions                                                                                          $0
f.      Self-employment related expenses                                                                            $0
g.      Living expenses                                                                                             $0
h.      All other expenses                                                                                          $0
i.      Total expenses in the reporting period (e+f+g+h)                                                            $0
j.      Difference between total income and total expenses (d-i)                                                    $0
k.      List the total amount of all postpetition debts that are past due                                           $0
l. Are you required to pay any Domestic Support Obligations as defined by 11            Yes       No
   U.S.C § 101(14A)?
m. If yes, have you made all Domestic Support Obligation payments?                      Yes       No        N/A

                                                     Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information, and provision of this information is mandatory under 11 U.S.C.
§§ 704, 1106, and 1107. The United States Trustee will use this information to calculate statutory fee assessments under 28
U.S.C. § 1930(a)(6). The United States Trustee will also use this information to evaluate a chapter 11 debtor's progress
through the bankruptcy system, including the likelihood of a plan of reorganization being confirmed and whether the case is
being prosecuted in good faith. This information may be disclosed to a bankruptcy trustee or examiner when the information
is needed to perform the trustee's or examiner's duties or to the appropriate federal, state, local, regulatory, tribal, or foreign
law enforcement agency when the information indicates a violation or potential violation of law. Other disclosures may be
made for routine purposes. For a discussion of the types of routine disclosures that may be made, you may consult the
Executive Office for United States Trustee's systems of records notice, UST-001, "Bankruptcy Case Files and Associated
Records." See 71 Fed. Reg. 59,818 et seq. (Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://
www.justice.gov/ust/eo/rules_regulations/index.htm. Failure to provide this information could result in the dismissal or
conversion of your bankruptcy case or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



/s/David Goldwasser                                                             David Goldwasser
Signature of Responsible Party                                                  Printed Name of Responsible Party

CRO                                                                             05/27/2025
Title                                                                           Date




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In Re. Avon Place LLC
Case No. 25-41368
                                 Statement of Cash Receipts and Disbursements
                                                    Apr-25
     Receipts:            Amount                         Memo
                                            192,714.86 Rental Income




           Total Receipts: $                 192,714.86

                                              14,870.00 Payroll
                                               4,368.00 Waste Disposal
                                               4,026.32 Insurance
                                               2,420.00 Comcast




     Total Disbursements: $                   25,684.32
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                                                                                                                 Prepared By: Empire Realty USA Corp
                                               Income Statement By Unit
                                                  4/1/2025 - 4/30/2025, By Month, Cash basis


 Avon Place
 Amount                                            04-2025                Total
 Income
   Convenience Fee                                $325.86               325.86
       44-102                                          19.44               19.44
       47-212                                          62.80              62.80
       48-108                                          56.06              56.06
       48-211                                          47.84              47.84
       48-212                                          65.78              65.78
       48-218                                          53.07              53.07
       48-305                                          20.87              20.87
   Late Fee Income                                $1 50.00              1 50.00
       48-218                                          50.00              50.00
       48-320                                          50.00              50.00
       47-310*                                         50.00              50.00
   Other Income                                    $50.00                50.00
       46-B                                           (25.00)            (25.00)
       47-114                                          25.00              25.00
       48-203                                          25.00              25.00
       48-206                                          25.00              25.00
   R ent Income                               $1 92,1 89.00         1 92,1 89.00
       44-101                                      1,800.00             1,800.00
       44-102                                         650.00             650.00
       44-109                                     2,000.00             2,000.00
       44-206                                      1,800.00             1,800.00


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                                                                                                                Prepared By: Empire Realty USA Corp
                                               Income Statement By Unit
                                                 4/1/2025 - 4/30/2025, By Month, Cash basis


 Amount                                           04-2025               Total
       44-305                                     1,950.00            1,950.00
       46-A                                       1,475.00            1,475.00
       46-B                                       1,250.00            1,250.00
       47-101                                     1,950.00            1,950.00
       47-102                                     1,800.00            1,800.00
       47-103                                     2,500.00            2,500.00
       47-104                                     1,750.00            1,750.00
       47-107                                     1,700.00            1,700.00
       47-108                                     1,415.00             1,415.00
       47-109                                     2,050.00            2,050.00
       47-111                                     1,875.00            1,875.00
       47-112                                     1,900.00            1,900.00
       47-114                                     1,875.00            1,875.00
       47-115                                     2,125.00            2,125.00
       47-116                                     2,150.00            2,150.00
       47-117                                     2,000.00            2,000.00
       47-118                                     1,750.00            1,750.00
       47-120                                     2,000.00            2,000.00
       47-201                                     1,850.00            1,850.00
       47-202                                     1,925.00            1,925.00
       47-204                                     1,900.00            1,900.00
       47-206                                     1,850.00            1,850.00
       47-207                                     1,800.00            1,800.00
       47-208                                     1,800.00            1,800.00



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                                                                                                                Prepared By: Empire Realty USA Corp
                                               Income Statement By Unit
                                                 4/1/2025 - 4/30/2025, By Month, Cash basis


 Amount                                           04-2025               Total
       47-209                                     1,800.00            1,800.00
       47-210                                     2,050.00            2,050.00
       47-212                                     2,100.00            2,100.00
       47-213                                     4,204.00            4,204.00
       47-214                                     1,850.00            1,850.00
       47-216                                     1,267.00            1,267.00
       47-218                                     1,950.00            1,950.00
       47-219                                     1,970.00            1,970.00
       47-220                                     2,075.00            2,075.00
       47-302                                     1,800.00            1,800.00
       47-303                                     2,500.00            2,500.00
       47-305                                     1,950.00            1,950.00
       47-306                                     1,925.00            1,925.00
       47-307                                         962.00           962.00
       47-309                                     2,000.00            2,000.00
       47-312                                     2,000.00            2,000.00
       47-313                                     1,925.00            1,925.00
       47-314                                     2,150.00            2,150.00
       47-315                                     2,150.00            2,150.00
       47-316                                         600.00           600.00
       47-317                                     3,100.00            3,100.00
       47-318                                     2,450.00            2,450.00
       47-320                                     1,925.00            1,925.00
       48-103                                     2,350.00            2,350.00



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                                                                                                                Prepared By: Empire Realty USA Corp
                                               Income Statement By Unit
                                                 4/1/2025 - 4/30/2025, By Month, Cash basis


 Amount                                           04-2025               Total
       48-104                                     1,725.00            1,725.00
       48-105                                         211.00            211.00
       48-108                                     1,875.00            1,875.00
       48-109                                     2,175.00            2,175.00
       48-110                                     2,025.00            2,025.00
       48-111                                     1,700.00            1,700.00
       48-112                                     1,851.00             1,851.00
       48-114                                     2,050.00            2,050.00
       48-116                                     1,840.00            1,840.00
       48-117                                     2,000.00            2,000.00
       48-118                                     1,700.00            1,700.00
       48-120                                     1,925.00            1,925.00
       48-202                                     1,950.00            1,950.00
       48-203                                     2,250.00            2,250.00
       48-204                                     1,600.00            1,600.00
       48-205                                     2,100.00            2,100.00
       48-206                                     1,925.00            1,925.00
       48-207                                         500.00           500.00
       48-208                                     1,600.00            1,600.00
       48-209                                     2,050.00            2,050.00
       48-210                                     1,560.00            1,560.00
       48-211                                     1,600.00            1,600.00
       48-212                                     2,200.00            2,200.00
       48-217                                     2,050.00            2,050.00



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                                                                                                                Prepared By: Empire Realty USA Corp
                                               Income Statement By Unit
                                                 4/1/2025 - 4/30/2025, By Month, Cash basis


 Amount                                           04-2025               Total
       48-218                                     1,725.00            1,725.00
       48-219                                     2,623.00            2,623.00
       48-221                                     1,650.00            1,650.00
       48-302                                     1,930.00            1,930.00
       48-303                                     1,250.00            1,250.00
       48-305                                         698.00           698.00
       48-306                                     1,650.00            1,650.00
       48-307                                     2,050.00            2,050.00
       48-308                                     1,950.00            1,950.00
       48-310                                     1,600.00            1,600.00
       48-311                                     1,950.00            1,950.00
       48-312                                     1,950.00            1,950.00
       48-313                                     2,075.00            2,075.00
       48-314                                     1,850.00            1,850.00
       48-316                                         800.00           800.00
       48-317                                     1,600.00            1,600.00
       48-320                                     2,150.00            2,150.00
       47-110*                                    1,900.00            1,900.00
       48-119*                                    2,650.00            2,650.00
       47-211*                                    1,750.00            1,750.00
       44-104*                                    1,450.00            1,450.00
       47-203*                                    2,400.00            2,400.00
       48-315*                                    1,850.00            1,850.00
       47-119*                                    2,533.00            2,533.00



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                                                                                                                 Prepared By: Empire Realty USA Corp
                                               Income Statement By Unit
                                                  4/1/2025 - 4/30/2025, By Month, Cash basis


 Amount                                            04-2025               Total
       47-310*                                     1,950.00            1,950.00
       47-319*                                     1,850.00            1,850.00
       44-213*                                     1,950.00            1,950.00
   Total Income                               $1 92,71 4.86       $1 92,71 4.86
       44-101                                      1,800.00            1,800.00
       44-102                                         669.44            669.44
       44-109                                     2,000.00             2,000.00
       44-206                                      1,800.00            1,800.00
       44-305                                      1,950.00            1,950.00
       46-A                                        1,475.00            1,475.00
       46-B                                        1,225.00            1,225.00
       47-101                                      1,950.00            1,950.00
       47-102                                      1,800.00            1,800.00
       47-103                                     2,500.00             2,500.00
       47-104                                      1,750.00            1,750.00
       47-107                                      1,700.00            1,700.00
       47-108                                      1,415.00             1,415.00
       47-109                                     2,050.00             2,050.00
       47-111                                      1,875.00            1,875.00
       47-112                                      1,900.00            1,900.00
       47-114                                      1,900.00            1,900.00
       47-115                                      2,125.00            2,125.00
       47-116                                      2,150.00            2,150.00
       47-117                                     2,000.00             2,000.00



Generated 05/21/2025 16:10:07                                                                                                            Page 6 of 19
                                Case 1-25-41368-jmm     Doc 55   Filed 05/28/25     Entered 05/28/25 02:44:34

                                                                                                                Prepared By: Empire Realty USA Corp
                                               Income Statement By Unit
                                                 4/1/2025 - 4/30/2025, By Month, Cash basis


 Amount                                           04-2025               Total
       47-118                                     1,750.00            1,750.00
       47-120                                     2,000.00            2,000.00
       47-201                                     1,850.00            1,850.00
       47-202                                     1,925.00            1,925.00
       47-204                                     1,900.00            1,900.00
       47-206                                     1,850.00            1,850.00
       47-207                                     1,800.00            1,800.00
       47-208                                     1,800.00            1,800.00
       47-209                                     1,800.00            1,800.00
       47-210                                     2,050.00            2,050.00
       47-212                                     2,162.80            2,162.80
       47-213                                     4,204.00            4,204.00
       47-214                                     1,850.00            1,850.00
       47-216                                     1,267.00            1,267.00
       47-218                                     1,950.00            1,950.00
       47-219                                     1,970.00            1,970.00
       47-220                                     2,075.00            2,075.00
       47-302                                     1,800.00            1,800.00
       47-303                                     2,500.00            2,500.00
       47-305                                     1,950.00            1,950.00
       47-306                                     1,925.00            1,925.00
       47-307                                         962.00           962.00
       47-309                                     2,000.00            2,000.00
       47-312                                     2,000.00            2,000.00



Generated 05/21/2025 16:10:07                                                                                                           Page 7 of 19
                                Case 1-25-41368-jmm     Doc 55   Filed 05/28/25     Entered 05/28/25 02:44:34

                                                                                                                Prepared By: Empire Realty USA Corp
                                               Income Statement By Unit
                                                 4/1/2025 - 4/30/2025, By Month, Cash basis


 Amount                                           04-2025               Total
       47-313                                     1,925.00            1,925.00
       47-314                                     2,150.00            2,150.00
       47-315                                     2,150.00            2,150.00
       47-316                                         600.00           600.00
       47-317                                     3,100.00            3,100.00
       47-318                                     2,450.00            2,450.00
       47-320                                     1,925.00            1,925.00
       48-103                                     2,350.00            2,350.00
       48-104                                     1,725.00            1,725.00
       48-105                                         211.00            211.00
       48-108                                     1,931.06             1,931.06
       48-109                                     2,175.00            2,175.00
       48-110                                     2,025.00            2,025.00
       48-111                                     1,700.00            1,700.00
       48-112                                     1,851.00             1,851.00
       48-114                                     2,050.00            2,050.00
       48-116                                     1,840.00            1,840.00
       48-117                                     2,000.00            2,000.00
       48-118                                     1,700.00            1,700.00
       48-120                                     1,925.00            1,925.00
       48-202                                     1,950.00            1,950.00
       48-203                                     2,275.00            2,275.00
       48-204                                     1,600.00            1,600.00
       48-205                                     2,100.00            2,100.00



Generated 05/21/2025 16:10:07                                                                                                           Page 8 of 19
                                Case 1-25-41368-jmm     Doc 55   Filed 05/28/25     Entered 05/28/25 02:44:34

                                                                                                                Prepared By: Empire Realty USA Corp
                                               Income Statement By Unit
                                                 4/1/2025 - 4/30/2025, By Month, Cash basis


 Amount                                           04-2025               Total
       48-206                                     1,950.00            1,950.00
       48-207                                         500.00           500.00
       48-208                                     1,600.00            1,600.00
       48-209                                     2,050.00            2,050.00
       48-210                                     1,560.00            1,560.00
       48-211                                     1,647.84            1,647.84
       48-212                                     2,265.78            2,265.78
       48-217                                     2,050.00            2,050.00
       48-218                                     1,828.07            1,828.07
       48-219                                     2,623.00            2,623.00
       48-221                                     1,650.00            1,650.00
       48-302                                     1,930.00            1,930.00
       48-303                                     1,250.00            1,250.00
       48-305                                         718.87            718.87
       48-306                                     1,650.00            1,650.00
       48-307                                     2,050.00            2,050.00
       48-308                                     1,950.00            1,950.00
       48-310                                     1,600.00            1,600.00
       48-311                                     1,950.00            1,950.00
       48-312                                     1,950.00            1,950.00
       48-313                                     2,075.00            2,075.00
       48-314                                     1,850.00            1,850.00
       48-316                                         800.00           800.00
       48-317                                     1,600.00            1,600.00



Generated 05/21/2025 16:10:07                                                                                                           Page 9 of 19
                                Case 1-25-41368-jmm     Doc 55   Filed 05/28/25      Entered 05/28/25 02:44:34

                                                                                                                 Prepared By: Empire Realty USA Corp
                                               Income Statement By Unit
                                                  4/1/2025 - 4/30/2025, By Month, Cash basis


 Amount                                            04-2025               Total
       48-320                                     2,200.00             2,200.00
       47-110*                                     1,900.00            1,900.00
       48-119*                                    2,650.00             2,650.00
       47-211*                                     1,750.00            1,750.00
       44-104*                                     1,450.00            1,450.00
       47-203*                                    2,400.00             2,400.00
       48-315*                                     1,850.00            1,850.00
       47-119*                                    2,533.00             2,533.00
       47-310*                                    2,000.00             2,000.00
       47-319*                                     1,850.00            1,850.00
       44-213*                                     1,950.00            1,950.00
 Net Operating Income                         $1 92,71 4.86       $1 92,71 4.86
       44-101                                      1,800.00            1,800.00
       44-102                                         669.44            669.44
       44-109                                     2,000.00             2,000.00
       44-206                                      1,800.00            1,800.00
       44-305                                      1,950.00            1,950.00
       46-A                                        1,475.00            1,475.00
       46-B                                        1,225.00            1,225.00
       47-101                                      1,950.00            1,950.00
       47-102                                      1,800.00            1,800.00
       47-103                                     2,500.00             2,500.00
       47-104                                      1,750.00            1,750.00
       47-107                                      1,700.00            1,700.00



Generated 05/21/2025 16:10:07                                                                                                           Page 10 of 19
                                Case 1-25-41368-jmm   Doc 55    Filed 05/28/25      Entered 05/28/25 02:44:34

                                                                                                                Prepared By: Empire Realty USA Corp
                                               Income Statement By Unit
                                                 4/1/2025 - 4/30/2025, By Month, Cash basis


 Amount                                           04-2025               Total
       47-108                                     1,415.00             1,415.00
       47-109                                     2,050.00            2,050.00
       47-111                                     1,875.00            1,875.00
       47-112                                     1,900.00            1,900.00
       47-114                                     1,900.00            1,900.00
       47-115                                     2,125.00            2,125.00
       47-116                                     2,150.00            2,150.00
       47-117                                     2,000.00            2,000.00
       47-118                                     1,750.00            1,750.00
       47-120                                     2,000.00            2,000.00
       47-201                                     1,850.00            1,850.00
       47-202                                     1,925.00            1,925.00
       47-204                                     1,900.00            1,900.00
       47-206                                     1,850.00            1,850.00
       47-207                                     1,800.00            1,800.00
       47-208                                     1,800.00            1,800.00
       47-209                                     1,800.00            1,800.00
       47-210                                     2,050.00            2,050.00
       47-212                                     2,162.80            2,162.80
       47-213                                     4,204.00            4,204.00
       47-214                                     1,850.00            1,850.00
       47-216                                     1,267.00            1,267.00
       47-218                                     1,950.00            1,950.00
       47-219                                     1,970.00            1,970.00



Generated 05/21/2025 16:10:07                                                                                                          Page 11 of 19
                                Case 1-25-41368-jmm     Doc 55   Filed 05/28/25     Entered 05/28/25 02:44:34

                                                                                                                Prepared By: Empire Realty USA Corp
                                               Income Statement By Unit
                                                 4/1/2025 - 4/30/2025, By Month, Cash basis


 Amount                                           04-2025               Total
       47-220                                     2,075.00            2,075.00
       47-302                                     1,800.00            1,800.00
       47-303                                     2,500.00            2,500.00
       47-305                                     1,950.00            1,950.00
       47-306                                     1,925.00            1,925.00
       47-307                                         962.00           962.00
       47-309                                     2,000.00            2,000.00
       47-312                                     2,000.00            2,000.00
       47-313                                     1,925.00            1,925.00
       47-314                                     2,150.00            2,150.00
       47-315                                     2,150.00            2,150.00
       47-316                                         600.00           600.00
       47-317                                     3,100.00            3,100.00
       47-318                                     2,450.00            2,450.00
       47-320                                     1,925.00            1,925.00
       48-103                                     2,350.00            2,350.00
       48-104                                     1,725.00            1,725.00
       48-105                                         211.00            211.00
       48-108                                     1,931.06             1,931.06
       48-109                                     2,175.00            2,175.00
       48-110                                     2,025.00            2,025.00
       48-111                                     1,700.00            1,700.00
       48-112                                     1,851.00             1,851.00
       48-114                                     2,050.00            2,050.00



Generated 05/21/2025 16:10:07                                                                                                          Page 12 of 19
                                Case 1-25-41368-jmm     Doc 55   Filed 05/28/25     Entered 05/28/25 02:44:34

                                                                                                                Prepared By: Empire Realty USA Corp
                                               Income Statement By Unit
                                                 4/1/2025 - 4/30/2025, By Month, Cash basis


 Amount                                           04-2025               Total
       48-116                                     1,840.00            1,840.00
       48-117                                     2,000.00            2,000.00
       48-118                                     1,700.00            1,700.00
       48-120                                     1,925.00            1,925.00
       48-202                                     1,950.00            1,950.00
       48-203                                     2,275.00            2,275.00
       48-204                                     1,600.00            1,600.00
       48-205                                     2,100.00            2,100.00
       48-206                                     1,950.00            1,950.00
       48-207                                         500.00           500.00
       48-208                                     1,600.00            1,600.00
       48-209                                     2,050.00            2,050.00
       48-210                                     1,560.00            1,560.00
       48-211                                     1,647.84            1,647.84
       48-212                                     2,265.78            2,265.78
       48-217                                     2,050.00            2,050.00
       48-218                                     1,828.07            1,828.07
       48-219                                     2,623.00            2,623.00
       48-221                                     1,650.00            1,650.00
       48-302                                     1,930.00            1,930.00
       48-303                                     1,250.00            1,250.00
       48-305                                         718.87            718.87
       48-306                                     1,650.00            1,650.00
       48-307                                     2,050.00            2,050.00



Generated 05/21/2025 16:10:07                                                                                                          Page 13 of 19
                                Case 1-25-41368-jmm     Doc 55   Filed 05/28/25      Entered 05/28/25 02:44:34

                                                                                                                 Prepared By: Empire Realty USA Corp
                                               Income Statement By Unit
                                                  4/1/2025 - 4/30/2025, By Month, Cash basis


 Amount                                            04-2025               Total
       48-308                                      1,950.00            1,950.00
       48-310                                      1,600.00            1,600.00
       48-311                                      1,950.00            1,950.00
       48-312                                      1,950.00            1,950.00
       48-313                                     2,075.00             2,075.00
       48-314                                      1,850.00            1,850.00
       48-316                                         800.00            800.00
       48-317                                      1,600.00            1,600.00
       48-320                                     2,200.00             2,200.00
       47-110*                                     1,900.00            1,900.00
       48-119*                                    2,650.00             2,650.00
       47-211*                                     1,750.00            1,750.00
       44-104*                                     1,450.00            1,450.00
       47-203*                                    2,400.00             2,400.00
       48-315*                                     1,850.00            1,850.00
       47-119*                                    2,533.00             2,533.00
       47-310*                                    2,000.00             2,000.00
       47-319*                                     1,850.00            1,850.00
       44-213*                                     1,950.00            1,950.00
 Net Income                                   $1 92,71 4.86       $1 92,71 4.86
       44-101                                      1,800.00            1,800.00
       44-102                                         669.44            669.44
       44-109                                     2,000.00             2,000.00
       44-206                                      1,800.00            1,800.00



Generated 05/21/2025 16:10:07                                                                                                           Page 14 of 19
                                Case 1-25-41368-jmm   Doc 55    Filed 05/28/25      Entered 05/28/25 02:44:34

                                                                                                                Prepared By: Empire Realty USA Corp
                                               Income Statement By Unit
                                                 4/1/2025 - 4/30/2025, By Month, Cash basis


 Amount                                           04-2025               Total
       44-305                                     1,950.00            1,950.00
       46-A                                       1,475.00            1,475.00
       46-B                                       1,225.00            1,225.00
       47-101                                     1,950.00            1,950.00
       47-102                                     1,800.00            1,800.00
       47-103                                     2,500.00            2,500.00
       47-104                                     1,750.00            1,750.00
       47-107                                     1,700.00            1,700.00
       47-108                                     1,415.00             1,415.00
       47-109                                     2,050.00            2,050.00
       47-111                                     1,875.00            1,875.00
       47-112                                     1,900.00            1,900.00
       47-114                                     1,900.00            1,900.00
       47-115                                     2,125.00            2,125.00
       47-116                                     2,150.00            2,150.00
       47-117                                     2,000.00            2,000.00
       47-118                                     1,750.00            1,750.00
       47-120                                     2,000.00            2,000.00
       47-201                                     1,850.00            1,850.00
       47-202                                     1,925.00            1,925.00
       47-204                                     1,900.00            1,900.00
       47-206                                     1,850.00            1,850.00
       47-207                                     1,800.00            1,800.00
       47-208                                     1,800.00            1,800.00



Generated 05/21/2025 16:10:07                                                                                                          Page 15 of 19
                                Case 1-25-41368-jmm     Doc 55   Filed 05/28/25     Entered 05/28/25 02:44:34

                                                                                                                Prepared By: Empire Realty USA Corp
                                               Income Statement By Unit
                                                 4/1/2025 - 4/30/2025, By Month, Cash basis


 Amount                                           04-2025               Total
       47-209                                     1,800.00            1,800.00
       47-210                                     2,050.00            2,050.00
       47-212                                     2,162.80            2,162.80
       47-213                                     4,204.00            4,204.00
       47-214                                     1,850.00            1,850.00
       47-216                                     1,267.00            1,267.00
       47-218                                     1,950.00            1,950.00
       47-219                                     1,970.00            1,970.00
       47-220                                     2,075.00            2,075.00
       47-302                                     1,800.00            1,800.00
       47-303                                     2,500.00            2,500.00
       47-305                                     1,950.00            1,950.00
       47-306                                     1,925.00            1,925.00
       47-307                                         962.00           962.00
       47-309                                     2,000.00            2,000.00
       47-312                                     2,000.00            2,000.00
       47-313                                     1,925.00            1,925.00
       47-314                                     2,150.00            2,150.00
       47-315                                     2,150.00            2,150.00
       47-316                                         600.00           600.00
       47-317                                     3,100.00            3,100.00
       47-318                                     2,450.00            2,450.00
       47-320                                     1,925.00            1,925.00
       48-103                                     2,350.00            2,350.00



Generated 05/21/2025 16:10:07                                                                                                          Page 16 of 19
                                Case 1-25-41368-jmm     Doc 55   Filed 05/28/25     Entered 05/28/25 02:44:34

                                                                                                                Prepared By: Empire Realty USA Corp
                                               Income Statement By Unit
                                                 4/1/2025 - 4/30/2025, By Month, Cash basis


 Amount                                           04-2025               Total
       48-104                                     1,725.00            1,725.00
       48-105                                         211.00            211.00
       48-108                                     1,931.06             1,931.06
       48-109                                     2,175.00            2,175.00
       48-110                                     2,025.00            2,025.00
       48-111                                     1,700.00            1,700.00
       48-112                                     1,851.00             1,851.00
       48-114                                     2,050.00            2,050.00
       48-116                                     1,840.00            1,840.00
       48-117                                     2,000.00            2,000.00
       48-118                                     1,700.00            1,700.00
       48-120                                     1,925.00            1,925.00
       48-202                                     1,950.00            1,950.00
       48-203                                     2,275.00            2,275.00
       48-204                                     1,600.00            1,600.00
       48-205                                     2,100.00            2,100.00
       48-206                                     1,950.00            1,950.00
       48-207                                         500.00           500.00
       48-208                                     1,600.00            1,600.00
       48-209                                     2,050.00            2,050.00
       48-210                                     1,560.00            1,560.00
       48-211                                     1,647.84            1,647.84
       48-212                                     2,265.78            2,265.78
       48-217                                     2,050.00            2,050.00



Generated 05/21/2025 16:10:07                                                                                                          Page 17 of 19
                                Case 1-25-41368-jmm     Doc 55   Filed 05/28/25     Entered 05/28/25 02:44:34

                                                                                                                Prepared By: Empire Realty USA Corp
                                               Income Statement By Unit
                                                 4/1/2025 - 4/30/2025, By Month, Cash basis


 Amount                                           04-2025               Total
       48-218                                     1,828.07            1,828.07
       48-219                                     2,623.00            2,623.00
       48-221                                     1,650.00            1,650.00
       48-302                                     1,930.00            1,930.00
       48-303                                     1,250.00            1,250.00
       48-305                                         718.87            718.87
       48-306                                     1,650.00            1,650.00
       48-307                                     2,050.00            2,050.00
       48-308                                     1,950.00            1,950.00
       48-310                                     1,600.00            1,600.00
       48-311                                     1,950.00            1,950.00
       48-312                                     1,950.00            1,950.00
       48-313                                     2,075.00            2,075.00
       48-314                                     1,850.00            1,850.00
       48-316                                         800.00           800.00
       48-317                                     1,600.00            1,600.00
       48-320                                     2,200.00            2,200.00
       47-110*                                    1,900.00            1,900.00
       48-119*                                    2,650.00            2,650.00
       47-211*                                    1,750.00            1,750.00
       44-104*                                    1,450.00            1,450.00
       47-203*                                    2,400.00            2,400.00
       48-315*                                    1,850.00            1,850.00
       47-119*                                    2,533.00            2,533.00



Generated 05/21/2025 16:10:07                                                                                                          Page 18 of 19
                                Case 1-25-41368-jmm   Doc 55    Filed 05/28/25      Entered 05/28/25 02:44:34

                                                                                                                Prepared By: Empire Realty USA Corp
                                               Income Statement By Unit
                                                 4/1/2025 - 4/30/2025, By Month, Cash basis


 Amount                                           04-2025               Total
       47-310*                                    2,000.00            2,000.00
       47-319*                                    1,850.00            1,850.00
       44-213*                                    1,950.00            1,950.00




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                                       Case 1-25-41368-jmm                           Doc 55   Filed 05/28/25          Entered 05/28/25 02:44:34

                                                                                     Bank of America Statement




                     P.O. Box 15284
                     Wilmington, DE 19850
                                                                                                                              Customer service information


                                                                                                                              1.888.BUSINESS (1.888.287.4637)

                                                                                                                              bankofamerica.com
                       AVON PLACE LLC
                                                                                                                              Bank of America, N.A.
                       710 AVENUE L
                                                                                                                              P.O. Box 25118
                       BROOKLYN, NY 11230-5112                                                                                Tampa, FL 33622-5118




                     Your Business Advantage Relationship Banking
                     Preferred Rewards for Bus Platinum Honors
                     for April 1, 2025 to April 30, 2025                                                                Account number: 4830 9278 9147
                     AVON PLACE LLC

                     Account summary
                     Beginning balance on April 1, 2025                                           $1,002.44        # of deposits/credits: 10
                     Deposits and other credits                                                     1,570.11       # of withdrawals/debits: 0
                     Withdrawals and other debits                                                       -0.00      # of items-previous cycle¹: 19
                     Checks                                                                             -0.00      # of days in cycle: 30
                     Service fees                                                                       -0.00      Average ledger balance: $2,300.71
                     Ending balance on April 30, 2025                                           $2,572.55          ¹Includes checks paid, deposited items and other debits




MARKETING_BANNER_2




                           The Business Advantage Unlimited Cash Rewards credit card
                           Unlimited 1.5% cash back on all purchases. So simple.
                           Plus get a $300 statement credit offer.
                           Apply today  there is no annual fee!
                           Scan this code or call 888.895.4909.
                           When you use the QRC feature, certain information is collected from your mobile device for business purposes. To qualify for
                           the statement credit, make at least $3,000 in Net Purchases with your card that post to your account within 90 days from
                           account opening. One $300 statement credit allowed per company. Restrictions apply. Offer subject to change without notice.




                     PULL: E CYCLE: 60 SPEC: E DELIVERY: E TYPE:   IMAGE: I BC: NY                                                                            Page 1 of 4
               Case 1-25-41368-jmm              Doc 55       Filed 05/28/25       Entered 05/28/25 02:44:34

AVON PLACE LLC ! Account # 4830 9278 9147 ! April 1, 2025 to April 30, 2025


IMPORTANT INFORMATION:
BANK DEPOSIT ACCOUNTS
How to Contact Us - You may call us at the telephone number listed on the front of this statement.

Updating your contact information - We encourage you to keep your contact information up-to-date. This includes address,
email and phone number. If your information has changed, the easiest way to update it is by visiting the Help & Support tab of
Online Banking.

Deposit agreement - When you opened your account, you received a deposit agreement and fee schedule and agreed that your
account would be governed by the terms of these documents, as we may amend them from time to time. These documents are
part of the contract for your deposit account and govern all transactions relating to your account, including all deposits and
withdrawals. Copies of both the deposit agreement and fee schedule which contain the current version of the terms and
conditions of your account relationship may be obtained at our financial centers.

Electronic transfers: In case of errors or questions about your electronic transfers - If you think your statement or receipt is
wrong or you need more information about an electronic transfer (e.g., ATM transactions, direct deposits or withdrawals,
point-of-sale transactions) on the statement or receipt, telephone or write us at the address and number listed on the front of
this statement as soon as you can. We must hear from you no later than 60 days after we sent you the FIRST statement on
which the error or problem appeared.

    -    Tell us your name and account number.
    -    Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error
         or why you need more information.
    -    Tell us the dollar amount of the suspected error.

For consumer accounts used primarily for personal, family or household purposes, we will investigate your complaint and will
correct any error promptly. If we take more than 10 business days (10 calendar days if you are a Massachusetts customer) (20
business days if you are a new customer, for electronic transfers occurring during the first 30 days after the first deposit is
made to your account) to do this, we will provisionally credit your account for the amount you think is in error, so that you will
have use of the money during the time it will take to complete our investigation.

For other accounts, we investigate, and if we find we have made an error, we credit your account at the conclusion of our
investigation.

Reporting other problems - You must examine your statement carefully and promptly. You are in the best position to discover
errors and unauthorized transactions on your account. If you fail to notify us in writing of suspected problems or an
unauthorized transaction within the time period specified in the deposit agreement (which periods are no more than 60 days
after we make the statement available to you and in some cases are 30 days or less), we are not liable to you and you agree to
not make a claim against us, for the problems or unauthorized transactions.

Direct deposits - If you have arranged to have direct deposits made to your account at least once every 60 days from the same
person or company, you may call us to find out if the deposit was made as scheduled. You may also review your activity online
or visit a financial center for information.


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                                                                                                                                                 Your checking account
                     AVON PLACE LLC ! Account # 4830 9278 9147 ! April 1, 2025 to April 30, 2025




                     Deposits and other credits
                     Date                              Description                                                                                                        Amount

                     04/01/25                          ACH RETURN/101050 RECOVERY CONNECTICUT NATU 11/25/24 CASE BML250312-003193                                         550.00
                                                       FDES NNF 0001488 447263

                     04/08/25                          ACH RETURN/101050 RECOVERY CAPITAL ONE 11/15/24 CASE BML250312-003157 FDES NNF                                     200.00
                                                       0001488 447263

                     04/08/25                          ACH RETURN/101050 RECOVERY CAPITAL ONE 11/19/24 CASE BML250312-003157 FDES NNF                                     169.95
                                                       0001488 447263

                     04/08/25                          ACH RETURN/101050 RECOVERY CAPITAL ONE 11/21/24 CASE BML250312-003157 FDES NNF                                     163.29
                                                       0001488 447263

                     04/08/25                          ACH RETURN/101050 RECOVERY CAPITAL ONE 10/28/24 CASE BML250312-003157 FDES NNF                                     136.00
                                                       0001488 447263

                     04/08/25                          ACH RETURN/101050 RECOVERY CAPITAL ONE 11/08/24 CASE BML250312-003157 FDES NNF                                     125.84
                                                       0001488 447263

                     04/08/25                          ACH RETURN/101050 RECOVERY CAPITAL ONE 11/18/24 CASE BML250312-003157 FDES NNF                                         50.00
                                                       0001488 447263

                     04/08/25                          ACH RETURN/101050 RECOVERY CAPITAL ONE 11/01/24 CASE BML250312-003157 FDES NNF                                          5.97
                                                       0001488 447263

                     04/14/25                          ACH RETURN/101050 RECOVERY STATE FARM RO 08 10/31/24 CASE BML250312-003151 FDES                                        84.53
                                                       NNF 0001488 447263

                     04/14/25                          ACH RETURN/101050 RECOVERY STATE FARM RO 08 11/25/24 CASE BML250312-003151 FDES                                        84.53
                                                       NNF 0001488 447263

                     Total deposits and other credits                                                                                                                $1,570.11


                     Service fees
                     The Monthly Fee on your primary Business Advantage Relationship Banking account was waived for the statement period ending 03/31/25. A
                     check mark below indicates the requirement(s) you have met to qualify for the Monthly Fee waiver on the account.
                                NOT CHECKED.
                                               $15,000+ combined average monthly balance in linked business accounts has not been met
                     CHECKED.




                                               Become a member of Preferred Rewards for Business has been met

                     For information on Small Business products and services or to link an existing account, please call 1.888.BUSINESS. For more information
                     about the Preferred Rewards for Business program and which fees can be waived based on account eligibility and enrollment, see the
                     Business Schedule of Fees located at bankofamerica.com/businessfeesataglance.
MARKETING_BANNER_2




                                               How are we doing? Your opinion is important to us.
                                               You are invited to join the Bank of America® Advisory Panel and share what you think we are doing right
                                               and what we need to do better.

                                               Enter code CADD at bankofamerica.com/AdvisoryPanel to learn more and join.

                                               When you use the QRC feature, certain information is collected from your mobile device for business purposes.
                                               Inclusion on the Advisory Panel is subject to qualifications.




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AVON PLACE LLC ! Account # 4830 9278 9147 ! April 1, 2025 to April 30, 2025




Daily ledger balances
Date                             Balance ($)   Date                           Balance($)   Date                 Balance ($)

04/01                            1,552.44      04/08                          2,403.49     04/14                 2,572.55




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                                                                                     Bank of America Statement




                     P.O. Box 15284
                     Wilmington, DE 19850
                                                                                                                               Customer service information


                                                                                                                               1.888.BUSINESS (1.888.287.4637)

                                                                                                                               bankofamerica.com
                       AVON PLACE LLC
                                                                                                                               Bank of America, N.A.
                       710 AVENUE L
                                                                                                                               P.O. Box 25118
                       BROOKLYN, NY 11230-5112                                                                                 Tampa, FL 33622-5118




                     Your Business Advantage Relationship Banking
                     Preferred Rewards for Bus Platinum Honors
                     for April 1, 2025 to April 30, 2025                                                                Account number: 4830 9278 9150
                     AVON PLACE LLC

                     Account summary
                     Beginning balance on April 1, 2025                                              $225.55        # of deposits/credits: 1
                     Deposits and other credits                                                     2,348.00        # of withdrawals/debits: 4
                     Withdrawals and other debits                                                  -2,420.28        # of items-previous cycle¹: 0
                     Checks                                                                             -0.00       # of days in cycle: 30
                     Service fees                                                                       -0.00       Average ledger balance: $480.79
                     Ending balance on April 30, 2025                                              $153.27          ¹Includes checks paid, deposited items and other debits




MARKETING_BANNER_2




                                Go paperless today!
                                - Help reduce the risk of lost, delayed or stolen mail
                                - View your statements securely and easily - online or from our mobile app -
                                  24/7 from almost anywhere*
                                Simply use our Mobile Banking app or sign in to Online Banking at bankofamerica.com.

                             When you use the QRC feature, certain information is collected from your mobile device for business purposes.
                            *Mobile Banking requires that you download the Mobile Banking app and is only available for select mobile devices.
                             Message and data rates may apply.




                     PULL: E CYCLE: 60 SPEC: E DELIVERY: E TYPE:   IMAGE: I BC: NY                                                                             Page 1 of 4
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AVON PLACE LLC ! Account # 4830 9278 9150 ! April 1, 2025 to April 30, 2025


IMPORTANT INFORMATION:
BANK DEPOSIT ACCOUNTS
How to Contact Us - You may call us at the telephone number listed on the front of this statement.

Updating your contact information - We encourage you to keep your contact information up-to-date. This includes address,
email and phone number. If your information has changed, the easiest way to update it is by visiting the Help & Support tab of
Online Banking.

Deposit agreement - When you opened your account, you received a deposit agreement and fee schedule and agreed that your
account would be governed by the terms of these documents, as we may amend them from time to time. These documents are
part of the contract for your deposit account and govern all transactions relating to your account, including all deposits and
withdrawals. Copies of both the deposit agreement and fee schedule which contain the current version of the terms and
conditions of your account relationship may be obtained at our financial centers.

Electronic transfers: In case of errors or questions about your electronic transfers - If you think your statement or receipt is
wrong or you need more information about an electronic transfer (e.g., ATM transactions, direct deposits or withdrawals,
point-of-sale transactions) on the statement or receipt, telephone or write us at the address and number listed on the front of
this statement as soon as you can. We must hear from you no later than 60 days after we sent you the FIRST statement on
which the error or problem appeared.

    -    Tell us your name and account number.
    -    Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error
         or why you need more information.
    -    Tell us the dollar amount of the suspected error.

For consumer accounts used primarily for personal, family or household purposes, we will investigate your complaint and will
correct any error promptly. If we take more than 10 business days (10 calendar days if you are a Massachusetts customer) (20
business days if you are a new customer, for electronic transfers occurring during the first 30 days after the first deposit is
made to your account) to do this, we will provisionally credit your account for the amount you think is in error, so that you will
have use of the money during the time it will take to complete our investigation.

For other accounts, we investigate, and if we find we have made an error, we credit your account at the conclusion of our
investigation.

Reporting other problems - You must examine your statement carefully and promptly. You are in the best position to discover
errors and unauthorized transactions on your account. If you fail to notify us in writing of suspected problems or an
unauthorized transaction within the time period specified in the deposit agreement (which periods are no more than 60 days
after we make the statement available to you and in some cases are 30 days or less), we are not liable to you and you agree to
not make a claim against us, for the problems or unauthorized transactions.

Direct deposits - If you have arranged to have direct deposits made to your account at least once every 60 days from the same
person or company, you may call us to find out if the deposit was made as scheduled. You may also review your activity online
or visit a financial center for information.


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                                                                                                                               Your checking account
                     AVON PLACE LLC ! Account # 4830 9278 9150 ! April 1, 2025 to April 30, 2025




                     Deposits and other credits
                     Date            Description                                                                                                         Amount

                     04/03/25        WINDSOR LOC-7841 DES:HAP PYMT ID:XXXXXXXXX INDN:AVON PLACE LLC                                CO                  2,348.00
                                     ID:1060865782 CCD

                     Total deposits and other credits                                                                                               $2,348.00



                     Withdrawals and other debits
                     Date            Description                                                                                                         Amount

                     04/07/25        COMCAST            DES:RETRY PYMT ID:7123828 INDN:AVON PLACE *LLC                      CO ID:0000213249           -1,098.44
                                     TEL

                     04/07/25        COMCAST            DES:RETRY PYMT ID:7123830 INDN:AVON PLACE *LLC                      CO ID:0000213249            -514.14
                                     TEL

                     04/07/25        COMCAST       DES:RETRY PYMT ID:7123830 INDN:AVONWOOD *PLACE LLC                            CO                     -403.97
                                     ID:0000213249 TEL

                     04/07/25        COMCAST       DES:RETRY PYMT ID:7123830 INDN:AVONWOOD *PLACE LLC                            CO                     -403.73
                                     ID:0000213249 TEL

                     Total withdrawals and other debits                                                                                            -$2,420.28



                     Daily ledger balances
                     Date                                   Balance ($)    Date                                   Balance($)     Date                 Balance ($)

                     04/01                                    225.55       04/03                                  2,573.55       04/07                   153.27




MARKETING_BANNER_2




                             How are we doing? Your opinion is important to us.
                             You are invited to join the Bank of America® Advisory Panel and share what you think we are doing right
                             and what we need to do better.

                             Enter code CADD at bankofamerica.com/AdvisoryPanel to learn more and join.

                             When you use the QRC feature, certain information is collected from your mobile device for business purposes.
                             Inclusion on the Advisory Panel is subject to qualifications.




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AVON PLACE LLC ! Account # 4830 9278 9150 ! April 1, 2025 to April 30, 2025




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                                                      T         STATEMENT OF ACCOUNT



    AVON PLACE LLC                                              Page:                                          1 of 2
    DEBTOR IN POSSESSION                                        Statement Period:            Apr 08 2025-Apr 30 2025
    DIP CASE 1 25 41368 JMM                                     Cust Ref #:                   4446984349-039-T-###
    3284 N 29TH AVE                                             Primary Account #:                      444-6984349
    HOLLYWOOD FL 33020




Chapter 11 Checking
AVON PLACE LLC                                                                                        Account # 444-6984349
DEBTOR IN POSSESSION
DIP CASE 1 25 41368 JMM


ACCOUNT SUMMARY
Beginning Balance                        0.00                             Average Collected Balance                       0.03
Deposits                                 0.25                             Interest Earned This Period                     0.00
                                                                          Interest Paid Year-to-Date                      0.00
Ending Balance                           0.25                             Annual Percentage Yield Earned                0.00%
                                                                          Days in Period                                    23



                                                   Total for this cycle          Total Year to Date
                    Grace Period OD/NSF Refund                      $0.00                       $0.00


DAILY ACCOUNT ACTIVITY
Deposits
POSTING DATE       DESCRIPTION                                                                                      AMOUNT
04/28              DEPOSIT                                                                                               0.25
                                                                                             Subtotal:                   0.25


DAILY BALANCE SUMMARY
DATE                                 BALANCE                              DATE                                     BALANCE
04/08                                    0.00                             04/28                                          0.25




Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
xxxxxx
Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
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    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1. Your ending balance shown on this
    as follows:                                                         statement is:
                                                                                                                                             Ending                                 0.25
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2. List below the amount of deposits or
                                                                        credit transfers which do not appear
•   Subtract any automatic payments,                                    on this statement. Total the deposits                                Total             +
    transfers or other electronic with-                                                                                                     Deposits
                                                                        and enter on Line 2.
    drawals not previously recorded.
•   Add any interest earned if you have                             3. Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4. List below the total amount of                                       Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                           withdrawals that do not appear on
                                                                        this statement. Total the withdrawals
•   Review all withdrawals shown on this                                and enter on Line 4.                                                 Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5. Subtract Line 4 from 3. This adjusted

•   Follow instructions 2-5 to verify your                              balance should equal your account
    ending account balance.                                             balance.                                                            Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                                      T         STATEMENT OF ACCOUNT



    AVON PLACE LLC                                              Page:                                          1 of 2
    DEBTOR IN POSSESSION                                        Statement Period:            Apr 08 2025-Apr 30 2025
    DIP CASE 1 25 41368 JMM                                     Cust Ref #:                   4446984456-039-T-###
    3284 N 29TH AVE                                             Primary Account #:                      444-6984456
    HOLLYWOOD FL 33020




Chapter 11 Checking
AVON PLACE LLC                                                                                        Account # 444-6984456
DEBTOR IN POSSESSION
DIP CASE 1 25 41368 JMM


ACCOUNT SUMMARY
Beginning Balance                        0.00                             Average Collected Balance                       0.03
Deposits                                 0.25                             Interest Earned This Period                     0.00
                                                                          Interest Paid Year-to-Date                      0.00
Ending Balance                           0.25                             Annual Percentage Yield Earned                0.00%
                                                                          Days in Period                                    23



                                                   Total for this cycle          Total Year to Date
                    Grace Period OD/NSF Refund                      $0.00                       $0.00


DAILY ACCOUNT ACTIVITY
Deposits
POSTING DATE       DESCRIPTION                                                                                      AMOUNT
04/28              DEPOSIT                                                                                               0.25
                                                                                             Subtotal:                   0.25


DAILY BALANCE SUMMARY
DATE                                 BALANCE                              DATE                                     BALANCE
04/08                                    0.00                             04/28                                          0.25




Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
xxxxxx
Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
              Case 1-25-41368-jmm                                Doc 55              Filed 05/28/25                Entered 05/28/25 02:44:34


    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1. Your ending balance shown on this
    as follows:                                                         statement is:
                                                                                                                                             Ending                                 0.25
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2. List below the amount of deposits or
                                                                        credit transfers which do not appear
•   Subtract any automatic payments,                                    on this statement. Total the deposits                                Total             +
    transfers or other electronic with-                                                                                                     Deposits
                                                                        and enter on Line 2.
    drawals not previously recorded.
•   Add any interest earned if you have                             3. Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4. List below the total amount of                                       Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                           withdrawals that do not appear on
                                                                        this statement. Total the withdrawals
•   Review all withdrawals shown on this                                and enter on Line 4.                                                 Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5. Subtract Line 4 from 3. This adjusted

•   Follow instructions 2-5 to verify your                              balance should equal your account
    ending account balance.                                             balance.                                                            Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
